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IN THE UNITED STATES DISTRICT COURT Rankruptoy Courts
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ©: Chief Judge Beryl A. Howell
Criminal Case No, 21-671

40 U.S.C. § 5104(e)(2)(G)
JAMES DOUGLAS LOLLIS, JR.,

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
James Douglas Lollis, Jr., with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the
parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

l. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C,, is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.

3% On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States
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Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the US.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

LOLLIS’s Participation in the January 6, 2021, Capitol Riot

8. On January 5, 2021, Lollis travelled from his home in South Carolina to
Washington, DC with another rioter, Derek Gunby, who was also charged in connection with his
conduct at the Capitol. See United States v. Derek Cooper Gunby, 12-cr-626 (PLF).

9. Lollis and Gunby checked into a hotel in Virginia, just outside of Washington,
DC. Lollis had a pistol with him, but left it in his hotel room when he left to attend rallies for
then-President Trump.

10. Onthe morning of January 6, 2021, Lollis rode the Metro with Gunby to attend a
rally for President Trump. Approximately 10-15 minutes before the end of the President’s

specch, Lollis left the rally and marched towards the Capito! Building with a large crowd.

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11. | At approximately 3:06 p.m., Lollis approached a Metro Police Department officer
positioned outside of the Capitol Building and said, “Y’all on the same team we are, aren’t you?
You're not going to respond? You’re not on the same team?”

12. At approximately 3:22 p.m., Lollis entered the Capitol Building through the
Senate Wing Door. As he walked into the Capitol Building, he stuck what appears to be a card
or a sticker onto the wall. He walked through the lobby for several minutes and exited through
the Senate Wing Door at approximately 3:27 p.m.

13. At approximately 3:29 p.m., Lollis approached the Metro Police Department
officers positioned at the Lower West Terrace entrance. Lollis yelled at the officers, “We got a
man down here dying! His lips are purple! You need to get him now!” As Lollis moved closer
to the officers, he was sprayed in the face with a crowd control spray. Lollis turned around and
headed back into the crowd.

14. _ Lollis knew at the time he entered the U.S. Capitol Building that that he did not

have permission to enter the building and the defendant paraded, demonstrated, or picketed.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By: _s/Christopher D. Amore
CHRISTOPHER D. AMORE
Assistant United States Attorney

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DEFENDANT’S ACKNOWLEDGMENT

I, JAMES DOUGLAS LOLLIS, JR., have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

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MES DOUGLAS LOLLIS, J

Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: U1frefa tho Lefealf f

METCALFE,
Attorney for Defendant

Melb

Michelle Peterson, 11/22/2021

     

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